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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                     )
                                             )
               v.                            )       Criminal No. 20-135
                                             )       Judge Donetta Ambrose
MATTHEW MICHANOWICZ                          )

     GOVERNMENT’S RESPONSE TO DEFENDANT’S MOTION FOR MEDICAL
                            FURLOUGH

       The United States of America, through undersigned counsel, respectfully responds to the

Defendant’s Petition for Medical Furlough (Doc. No. 49).

       The Defendant was charged initially by Complaint on June 5, 2020 and then by Indictment

on June 23, 2020 with possession of three unregistered destructive devices in violation of Title 26,

United States Code, Section 5861(d).      A detention hearing was held before Magistrate Judge

Maureen P. Kelly on July 14, 2020 and defendant was ordered detained. He is currently housed at

the Allegheny County Jail (“ACJ”).

       On June 21, 2021, the Defendant, through counsel, filed Petition for Medical Furlough,

alleging that his dental crowns are disintegrating and are in need of replacement. Defendant asserts

that he was told by ACJ medical staff that he would have to have his teeth removed instead of the

having the crowns replaced. (Petition at ¶ ¶ 3-4). Defendant requests that this Court order either a

16-hour furlough or alternatively that the United States Marshal’s Service (“USMS”) transport the

defendant to be evaluated and treated in an unspecified dental office. Defendant does not attach any

medical or dental records to his Petition. Nor does he provide the name of the dentist whom he

proposes will evaluate and treat him outside of prison or any medical or dental report indicating

that such treatment is warranted.
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       It is the Government’s position that the Court cannot grant relief on the record before it.

The Defendant, who bears the burden on his Petition, has not submitted any medical or dental

records or other individualized evidence substantiating his claims that he is not receiving adequate

dental care. Title 18, United States Code, Section 3142(i), provides that, “[t]he judicial officer

may, by subsequent order, permit the temporary release of the person, in the custody of a United

States marshal or another appropriate person, to the extent that the judicial officer determines such

release to be necessary for preparation of the person’s defense or for another compelling reason.”

It is the Defendant’s burden to show that Section 3142(i) permits his temporary release. United

States v. Davis, No. CR 2:20-121-12, 2020 WL 4496581, at *2 (W.D. Pa. Aug. 4, 2020) ; United

States v. Wilburn, No. 2:18-CR-115, 2020 WL 1899146, at *2 (W.D. Pa. Apr. 17, 2020). To meet

this burden, the defendant should present an individualized argument why temporary release is

appropriate; generalized or speculative arguments are insufficient. Wilburn, 2020 WL 1899146, at

*2. The Defendant has failed to meet this burden and the motion should be denied.

       In order to properly respond to the Petition, the undersigned reached out to the USMS, who

communicate with ACJ regarding medical care of federal inmates, to inquire about the Defendant’s

allegations. The USMS forwarded the request to ACJ medical staff and requested a response. The

ACJ Medical Unit promptly responded and advised that, contrary to his Petition, defendant was

seen by a certified dentist, Dr. James Wilson, D.D.S. on February 23, 2021 and that there is only

one tooth at issue (tooth 19 located in the lower back of defendant’s mouth). ACJ provided Dr.

Wilson’s medical report indicating that defendant had a cracked crown on this tooth and tried to

repair it himself. He was unsuccessful and when the dentist examined the tooth, the tooth

underneath was fractured and required removal so as to avoid further complications. Defendant




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refused all treatment. See defendant’s dental record attached hereto. Accordingly, defendant’s

Petition is unsupported and should be denied.




                                                Respectfully submitted,

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